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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
Angel Shapiro, on behalf of himself and others
similarly situated in the proposed FLSA Collective
Action,                                                            Case No.:

                                             Plaintiff,
                                                                   Jury Trial Demanded
                  - against -                                      COMPLAINT
John Doe Corp. I (d/b/a IHOP), and Venice Griffin,

                                              Defendants.
--------------------------------------------------------------X

        Plaintiff Angel Shapiro (“Plaintiff” or “Shapiro”), on behalf of himself and others

similarly situated, by and through his attorneys, Levin-Epstein & Associates, P.C., upon personal

knowledge as to himself and upon information and belief as to others, brings this complaint

against Defendants John Doe Corp. I (d/b/a IHOP), (the Corporate Defendant”), and Venice

Griffin (the “Individual Defendant”, and collectively with the Corporate Defendant, the

“Defendants”) and states as follows:

                                       NATURE OF THE ACTION

           1.     Plaintiff brings this lawsuit seeking recovery, for himself and all other similarly

situated individuals, against Defendants’ violations of the Fair Labor Standards Act, 29 U.S.C. §§

201 et seq. (“FLSA”), and violations of Articles 6 and 19 of the New York State Labor Law

(“NYLL”) and their supporting New York State Department of Labor regulations.

           2.     Plaintiff seeks injunctive and declaratory relief and to recover unpaid minimum

wages, liquidated and statutory damages, pre- and post-judgment interest, and attorneys' fees and

costs pursuant to the FLSA, NYLL, and the NYLL's Wage Theft Prevention Act ("WTPA").




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                                 JURISDICTION AND VENUE

       3.       The Court has subject matter jurisdiction of this case pursuant to 29 U.S.C. § 216

(b), 28 U.S.C. § 1331 and 28 U.S.C. § 1337, and has supplemental jurisdiction over Plaintiff’s

claims under the NYLL pursuant to 28 U.S.C. § 1367(a).

       4.       This Court has federal question jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1331 because his claims arise under the FLSA.

       5.       Venue is proper in this District under 28 U.S.C. § 1391(b) and (c), because all

events relevant to this action occurred in this District, and the acts and omissions giving rise to

the claims herein alleged took place in this District.

                                          THE PARTIES

PLAINTIFF ANGEL SHAPIRO

       6.       Plaintiff was employed as a host and general worker at Defendants’ restaurant

located at: 235 East 14th Street, # 237, New York, NY 10003 (“IHOP”), from approximately

March 27, 2022.

       7.       Plaintiff was employed as a non-managerial employee for Defendants from March

27, 2022.

       8.       At all relevant times, Plaintiff has been an employee within the meaning of Section

3(e) of the FLSA, 29 U.S.C. § 203(e).

       9.       At all relevant times, Plaintiff has been a manual worker within the meaning of

NYLL § 191(1)(a).

DEFENDANT JOHN DOE CORP. I (D/B/A IHOP)

       10.      Upon information and belief, Defendant John Doe Corp. I (d/b/a IHOP) is a

domestic corporation organized and existing under the laws of New York.

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       11.     Upon information and belief, Defendant John Doe Corp. I (d/b/a IHOP) is licensed

to do business in the State of New York, and at all relevant times here to, maintained a principal

place of business at 235 East 14th Street, # 237, New York, NY 10003.

       12.     At all times relevant to this Complaint, Defendant John Doe Corp. I (d/b/a IHOP)

(i) has had and continues to have employees engaged in commerce or in the production of goods

and services for commerce and handling, selling, or otherwise working on goods or materials that

have been moved in or produced for commerce by any person and (ii) has had and continues to

have an annual gross volume of sales of not less than $500,000.00.

       13.     At all times relevant to this Complaint, Defendant John Doe Corp. I (d/b/a IHOP)

was and is a covered employer within the meaning of the FLSA, 29 U.S.C. § 203(d) and, at all

times relevant to this Complaint, employed employees, including Plaintiff.

       14.     At all times relevant to this Complaint, Defendant John Doe Corp. I (d/b/a IHOP)

was and is an employer within the meaning of the 29 U.S.C. 201 et seq. and NYLL Section 190(3),

and employed employees, including Plaintiff.

       15.     The true name of Defendant John Doe Corp. I (d/b/a IHOP) is unknown to Plaintiff

at this time, and Plaintiff will seek leave to amend this Complaint to state its true name when it

has been ascertained.

DEFENDANT VENICE GRIFFIN

       16.     Defendant Venice Griffin is an individual engaging (or who have engaged) in

business within this judicial district during the relevant time period.

       17.     Defendant Venice Griffin is sued individually and in his capacity as an owner,

officer and/or agent of the Corporate Defendant.

       18.     Defendant Venice Griffin possesses or possessed operational control over the


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Corporate Defendant, or controlled significant functions of the Corporate Defendant.

          19.   Defendant Venice Griffin determined the wages and compensation of employees,

including Plaintiff, established the schedules of employees, maintained employee records, and

had the authority to hire and fire employees.

          20.   At all times relevant to this Complaint, Defendant Venice Griffin has been and is

an employer within the meaning of the 29 U.S.C. 201 et seq. and NYLL Section 190(3), and

employed employees, including Plaintiff.

DEFENDANTS CONSTITUTE JOINT EMPLOYERS

          21.   Defendants own, operate and/or control the restaurant located at 235 East 14th

Street, # 237, New York, NY 10003 (i.e., IHOP).

          22.   The Individual Defendant possesses operational control over the Corporate

Defendant, possesses an ownership interest in the Corporate Defendant, and controls significant

functions of the Corporate Defendant.

          23.   Defendants are associated and joint employers, act in the interest of each other

with respect to employees, pay employees by the same method, and share control over the

employees.

          24.   Each Defendant possessed substantial control over Plaintiff’s (and other similarly

situated employees’) working conditions, and over the policies and practices with respect to the

employment and compensation of Plaintiff, and all similarly situated individuals, referred to

herein.

          25.   Defendants jointly employed Plaintiff, and all similarly situated individuals, and

are Plaintiff’s (and all similarly situated individuals’) employers within the meaning of 29 U.S.C.

201 et seq. and the NYLL.

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       26.      In the alternative, Defendants constitute a single employer of Plaintiff and/or

similarly situated individuals.

       27.      Upon information and belief, the Individual Defendant operates the Corporate

Defendant as either an alter ego of himself, and/or fails to operate the Corporate Defendant as an

entity legally separate and apart from himself, by, among other things:

       a.       failing to adhere to the corporate formalities necessary to operate the Corporate

                Defendant a separate and legally distinct entity;

       b.       defectively forming or maintaining the Corporate Defendant, by among other

                things failing to hold annual meetings or maintaining appropriate corporate

                records;

       c.       transferring assets and debts freely as between all Defendants;

       d.       operating the Corporate Defendant for their own benefit as the majority

                shareholder;

       e.       operating the Corporate Defendant for their own benefit and maintaining control

                over it as a closed corporation or closely controlled entity;

       f.       intermingling assets and debts of their own with the Corporate Defendant;

       g.       diminishing and/or transferring assets of the Corporate Defendant to protect their

                own interests; and

       h.       other actions evincing a failure to adhere to the corporate form.

       28.      At all relevant times, Defendants were Plaintiff’s employers within the meaning of

the FLSA and NYLL.

       29.      Defendants had the power to hire and fire Plaintiff, control the terms and

conditions of employment, and determine the rate and method of any compensation in exchange

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for Plaintiff’s services.

                                  FACTUAL ALLEGATIONS

        30.     Plaintiff and other similarly situated individuals are individuals who have worked

for Defendants in similarly-titled, hourly paid position, during the statutory period.

        31.     Plaintiff and other similarly situated individuals all shared similar job titles,

training, job descriptions and job tasks, during the statutory period.

        32.     Plaintiff was an employee of Defendants.

        33.     Plaintiff was employed as host and general worker at IHOP from approximately

March 27, 2022.

        34.     From approximately March 27, 2022 to, through and including, May 20, 2022,

Plaintiff worked at IHOP four (4) days per week as follows: 10:00 p.m. to 7:00 a.m. (i.e., 9 hours

per day), Saturdays and Sundays, and 8:00 a.m. to 2:00 p.m. (i.e., 6 hours per day), Mondays and

Wednesdays, for a total period of approximately 30 hours during each of the weeks, respectively.

        35.     From approximately May 21, 2022 to, through and including, the present date,

Plaintiff worked at IHOP three (3) days per week as follows: 8:00 a.m. to 2:00 p.m. (i.e., 6 hours

per day), Wednesdays or Tuesdays, Fridays and Saturdays, for a total period of approximately 18

hours during each of the weeks, respectively.

        36.     From March 27, 2022 to, through and including the present date, Shapiro was paid

$15 per hour.

        37.     At all times relevant herein, Defendants had a policy and practice commonly

known as “time shaving”. Specifically, Defendants would force Plaintiff, and other similarly

situated employees, to clock out at 6:00 a.m., despite the fact that they would not finish their

overnight shifts until approximately 7:00 a.m.

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          38.   As a result, Plaintiff, and other similarly situated employees, were forced to work

off the clock, without pay, during this period.

          39.   Defendants’ conduct extended beyond Plaintiff to all other similarly situated

employees.

          40.   Defendants did not state the correct gross wages, as defined by NYLL, for any

employee on any pay statement as required by NYLL or deductions from the correct gross wages.

          41.   Plaintiff was not required to keep track of his time, nor to his knowledge, did the

Defendants utilize any time tracking device, such as sign in sheets or punch cards, that accurately

reflected his actual hours worked.

          42.   No notification, either in the form of posted notices, or other means, was ever given

to Plaintiff regarding wages are required under the FLSA or NYLL.

          43.   Defendants did not provide Plaintiff a statement of wages, as required by NYLL

195(3).

          44.   Defendants did not give any notice to Plaintiff of his rate of pay, employer’s

regular pay day, and such other information as required by NYLL § 195(1).

          45.   At all relevant times, Defendants did not pay Plaintiff at the rate of one and one-

half times his hourly wage rate for hours worked in excess of forty per workweek.

                        FLSA COLLECTIVE ACTION ALLEGATIONS

          46.   Plaintiff brings the First Claim for Relief as a collective action pursuant to FLSA

§16(b), 29 U.S.C. §216(b), on behalf of all non-exempt persons (including but not limited to hosts

and general workers) employed by Defendants on or after the date that is three years before filing

of the Complaint in this case, as defined herein (“FLSA Collective Plaintiffs”).

          47.   At all relevant times, Plaintiff and FLSA Collective Plaintiffs are and have been

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similarly situated, have had substantially similar job requirements and pay provisions, and are and

have been subject to Defendants’ decision, policy, plan and common policies, programs, practices,

procedures, protocols, routines and rules willfully failing and refusing to pay them at the legally

required overtime wage for all hours worked in excess of forty hours per work week. These claims

of the Plaintiff are essentially the same as those of the FLSA Collective Plaintiffs.

          48.   The First Claim for Relief is properly brought under and maintained as an opt-in

collective action pursuant to under FLSA §16(b), 29 U.S.C. §216(b). The FLSA Collective

Plaintiffs are readily ascertainable. For purpose of notice and others related to this action, their

names and addresses are readily available from the Defendants. Notice can be provided to the

FLSA Collective Plaintiffs via first class mail to the last address known to Defendants

          49.   Plaintiff reserves the right to re-define the FLSA Collective Plaintiffs prior to

notice or collective certification, and thereafter, as necessary.

                                        FIRST CLAIM
                      (FLSA – Unpaid Minimum Wages, 29 U.S.C. § 201 et seq.)

          50.   Plaintiff repeats and incorporates all foregoing paragraphs as if fully set forth

herein.

          51.   Defendants willfully and intentionally failed to compensate the Plaintiff with the

applicable minimum hourly wage in violation of the FLSA, 29 U.S. Code § 206.

          52.   Defendants have failed to make a good faith effort to comply with the FLSA with

respect to compensation of Plaintiff.

          53.   Due to Defendants’ violations of the FLSA, Plaintiff, on behalf of himself and

FLSA Collective Plaintiffs, is entitled to recover from Defendants, jointly and severally, their

unpaid minimum wages and an equal amount in the form of liquidated damages, as well as

reasonable attorneys’ fees and costs of the action, pursuant to the FLSA, all in an amount to be
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determined at trial. 29 U.S.C. § 216(b).

                                       SECOND CLAIM
                      (NYLL – Unpaid Minimum Wages, N.Y. Stat. § 650 et seq.)

          54.   Plaintiff repeats and incorporates all foregoing paragraphs as if fully set forth

herein.

          55.   Defendants willfully and intentionally failed to compensate the Plaintiff with the

applicable minimum hourly wage in violation of the NYLL §650 et seq.

          56.   Defendants have failed to make a good faith effort to comply with the NYLL with

respect to compensation of Plaintiff.

          57.   Due to Defendants’ violations of the NYLL, Plaintiff, on behalf of himself and

FLSA Collective Plaintiffs, is entitled to recover from Defendants, jointly and severally, their

unpaid minimum wages and an equal amount in the form of liquidated damages, as well as

reasonable attorneys’ fees and costs of the action, in an amount to be determined at trial, pursuant

to the NYLL § 663.

                                   THIRD CLAIM
                       (NYLL WTPA– Failure to Provide Wage Notices)

          58.   Plaintiff repeats and incorporates all foregoing paragraphs as if fully set forth

herein.

          59.   The NYLL and the WTPA require employers to provide all employees with a

written notice of wage rates at the time of hire.

          60.   In violation of NYLL §195 (1), Defendants failed to furnish to Plaintiff at the time

of hiring, or whenever their rate(s) of pay changed, with a wage notice containing the rate or rates

of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or

other, allowances, if any, claimed as part of the minimum wage, including tip, meal, or lodging

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allowances; the regular pay day designated by the employer in accordance with NYLL §191; the

name of the employer; any “doing business as” names used by the employer; the physical address

of the employer’s main office or principal place of business, and a mailing address, if different;

the telephone number of the employer, and anything otherwise required by law.

          61.   Due to Defendants’ violations of NYLL §195 (1), Plaintiff is entitled to recover

his liquidated damages, reasonable attorney’s fees and cost and disbursement of the action,

pursuant to the NYLL §198 (1-b).

                                      FOURTH CLAIM
                  (Violation of the Wage Statement Provisions of the NYLL)

          62.   Plaintiff repeats and incorporates all foregoing paragraphs as if fully set forth

herein.

          63.   With each payment of wages, Defendants failed to provide Plaintiff with a

statement listing each of the following the dates of work covered by the payment of wages; name

of employee; name of employer; address and phone number of employer; rate or rates of pay and

basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross

wages; deductions; allowances, if any, claimed as part of the minimum wage; the number of

regular hours worked; the number of overtime hours worked, as required by the NYLL § 195(3).

          64.   As a result of Defendant’s violation of the WTPA, Plaintiff is entitled to damages

of at least $150 per week during which the violations occurred.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of himself and FLSA Collective Plaintiffs,
respectfully requests that this Court enter a judgment:
          a.    authorizing Plaintiff at the earliest possible time to give notice of this collective
                action, or that the Court issue such notice, to all persons who are presently, or have
                up through the extent allowable under the statute of limitations and including the
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               date of issuance of court-supervised notice, been employed by Defendants as
               nonexempt employees. Such notice shall inform them that the civil notice has been
               filed, of the nature of the action, of their right to join this lawsuit if they believe
               they were denied minimum wages;
      b.       certification of this case as a collective action pursuant to the FLSA;
      c.       issuance of notice pursuant to 29 U.S.C. § 216(b), to all similarly situated members
               of the FLSA opt-in class, apprising them of the pendency of this action, and
               permitting them to assert timely FLSA claims and state claims in this action by
               filing individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b), and
               appointing Plaintiff and his counsel to represent the FLSA Collective Plaintiffs;
      d.       declaring that Defendants violated the minimum wage provisions of the FLSA, the
               NYLL and the NYDOL regulations;
      e.       declaring that Defendants violated the notice statement pay provisions of the
               NYLL and WTPA;
      f.       awarding Plaintiff unpaid minimum wages;
      g.       awarding Plaintiff liquidated damages in an amount equal to the total amount of
               wages found to be due;
      h.       awarding Plaintiff statutory damages as a result of Defendants’ failure to furnish
               accurate wage notice pursuant to the NYLL;
      i.       awarding Plaintiff pre- and post-judgment interest under the NYLL;
      j.       awarding Plaintiff reasonable attorneys’ fees and the costs and disbursements of
               this action; and
      k.       Such other relief as this Court deems just and proper.



Dated: New York, New York
       June 15, 2022                             Respectfully submitted,



                                                 By: /s/ Joshua Levin-Epstein
                                                     Joshua Levin-Epstein
                                                     Jason Mizrahi
                                                     Levin-Epstein & Associates, P.C.
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